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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  ROBERT BARTLETT, et al.,

                     Plaintiffs,

                     -v-                                Case No. 19-cv-00007 (CBA) (TAM)

  SOCIÉTÉ GÉNÉRALE DE BANQUE AU
  LIBAN SAL, et al.,

                     Defendants.


       STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO ANSWER
                       SECOND AMENDED COMPLAINT

         WHEREAS, Plaintiffs filed the Second Amended Complaint in the above-captioned

  action on December 31, 2020, asserting claims pursuant to the Anti-Terrorism Act (18 U.S.C. §§

  2333(a), 2333(d)(2)) for injuries allegedly arising from alleged terrorist attacks in Iraq occurring

  over an eight-year period between 2004 and 2011;

         WHEREAS, the “Moving Defendants” are separate financial institutions headquartered

  in Lebanon, namely Société Générale de Banque au Liban S.A.L., Fransabank S.A.L., MEAB

  Bank s.a.l., BLOM Bank S.A.L., Byblos Bank S.A.L., Bank Audi SAL, Bank of Beirut S.A.L.,

  Lebanon & Gulf Bank S.A.L., Banque Libano-Française S.A.L., Bank of Beirut and the Arab

  Countries S.A.L., and Fenicia Bank s.a.l.;

         WHEREAS, on June 17, 2022, the Court denied the Moving Defendants’ respective

  motions to dismiss (ECF 291), rendering the Moving Defendants’ deadline to answer the Second

  Amended Complaint July 1, 2022;

         WHEREAS, on July 5, 2022, the Court so-ordered the parties’ stipulation for an

  extension of time (ECF 293) to extend the Moving Defendants’ deadline to answer the Second

  Amended Complaint, up to and including August 15, 2022;
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         WHEREAS, the Moving Defendants have conferred with Plaintiffs, who consent to a

  twenty-four (24) day extension of the Moving Defendants’ deadline to answer the Second

  Amended Complaint, up to and including September 8, 2022;

         WHEREAS, the Moving Defendants have made one prior request to extend their

  deadline to answer the Second Amended Complaint, and the extension will not impact other

  deadlines in this case;

         NOW THEREFORE, it is stipulated and agreed between the parties hereto and their

  undersigned counsel that:

         1. The date by which Moving Defendants Société Générale de Banque au Liban S.A.L.,

  Fransabank S.A.L., MEAB Bank s.a.l., BLOM Bank S.A.L., Byblos Bank S.A.L., Bank Audi

  SAL, Bank of Beirut S.A.L., Lebanon & Gulf Bank S.A.L., Banque Libano-Française S.A.L.,

  Bank of Beirut and the Arab Countries S.A.L., and Fenicia Bank s.a.l. shall answer the Second

  Amended Complaint is hereby extended for twenty-four (24) days, up to and including

  September 8, 2022.


  Respectfully submitted,

  Dated: August 15, 2022

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  So ordered this _____ day of ___________, 2022.

  _________________________________________
  United States District Judge
